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AO 245B (Rev. 02/08/2019) Judgment in a Criminal Petty Case (Modified) Page 1 of t

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

United States of America JUDGMENT IN A CRIMINAL CASE
Vv. (For Offenses Committed On or After November 1, 1987)
Esteban Contreras-Velasquez Case Number: 3: 19rmj- 24659

 

Lewis CH Tir +s tiait Muller

Defendant's Attorney Fi I fo =| D

 

 

REGISTRATION NO. 92181298

THE DEFENDANT: «DEC 18 2019
KI pleaded guilty to count(s) 1 of Complaint CLERK, U.S. DISTRICT COURT
[1 was found guilty to count(s) SOUTBERN DISTRICT OF CALIFORNIA
Se ——

after a plea of not guilty,

Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

 

 

 

 

 

 

 

Title & Section Nature of Offense Count Number(s)
8:1325 ILLEGAL ENTRY (Misdemeanor) 1 .
(1 The defendant has been found not guilty on count(s)
L] Count(s) dismissed on the motion of the United States.
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of:

y C
C1 TIME SERVED x a days

 

XX] Assessment: $10 WAIVED h Fine: WAIVED

& Court recommends USMS, ICE or DHS or other arresting agency return all property and all documents in
the defendant’s possession at the time of arrest upon their deportation or removal.

[] Court recommends defendant be deported/removed with relative, charged in case

 

 

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States Attorney of any material change in the defendant's economic circumstances.

Wednesday, December 18, 2019
Date of Imposition of Sentence

. Received GAL 7 ~ > | ASE |

HONORABLE BARRY M. KURREN
UNITED STATES MAGISTRATE JUDGE

Clerk’s Office Copy | 3:19-mj-24639

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